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                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                             Alexandria Division


IN RE:                                            Case No. 19-10888-KHK
MARK ANTHONY ANDERSON
       Debtor                                     Chapter 13
_______________________________
NEWREZ LLC D/B/A SHELLPOINT
MORTGAGE SERVICING
       Movant
v.
MARK ANTHONY ANDERSON
       Debtor/Respondent
and
LATAUNIA ANDERSON
       Co-Debtor/Co-Respondent
and
THOMAS P. GORMAN
       Trustee/Respondent
______________________________________________________________________________

                                            NOTICE OF DEFAULT

       Upon information provided by NewRez LLC d/b/a Shellpoint Mortgage Servicing (the
“Movant”), the undersigned counsel, Andrew Todd Rich and BWW Law Group, LLC, hereby files this
Notice of Default (the “Notice of Default”), and respectfully represents as follows:

      1.      The Movant is the beneficiary under a Deed of Trust executed by Mark Anthony
Anderson (the “Debtor”) and Lataunia Anderson (the “Co-Debtor”), which encumbers the real property
known as 1411 Admiral Drive, Woodbridge, VA 22192 (the “Property”).

       2.      A Consent Order Modifying Automatic Stay and Co-Debtor Stay was entered by the
Court in this case on August 9, 2019 (the “Consent Order”). The Debtor is in default under the terms of
the Consent Order. The Debtor has failed to make the following payments required by the terms of the
Consent Order (the “Default”):

                  April 1, 2020 Post Petition Payment        $1,871.82
                  May 1, 2020 Post Petition Payment          $1,871.82
                  Suspense                                   $-84.54

       3.     Pursuant to the terms of the Consent Order, within fourteen (14) days of the date of this
Notice of Default, the Debtor or Chapter 13 Trustee (the “Trustee”) must either: (a) cure the Default by
                                                                                          BWW#:VA-312479
______________________________
Andrew Todd Rich, VSB#74296
8100 Three Chopt Rd., Suite 240
Richmond, VA 23229
(804) 282-0463
Counsel for the Movant
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tendering to the Movant $3,759.10 (the total amount of the Default, which includes $100.00 for
attorney's fees associated with the filing of this Notice of Default) in certified funds at the payment
address listed in paragraph no. 4 below; (b) file an objection stating that no default exists; or (c) file an
objection with the court stating any other reason why an Order granting relief from the automatic stay
should not be entered.

        4.     Any cure of the Default must include payment of all amounts set forth herein, as well as
payments which have subsequently become due under the terms of the Consent Order and any amounts
that are due at the time the Default is cured. Acceptance of partial payment by the Movant during the
14-day cure period shall not constitute a satisfaction or waiver of the Notice of Default. Any cure
payments should be sent to the following address:

                           NewRez LLC d/b/a Shellpoint Mortgage Servicing
                                         P.O. Box 10826
                                    Greenville, SC 29603-0826

        5.     If the Debtor or Trustee do not take one of the actions set forth in paragraph no. 3
hereinabove, the Movant may file a certificate with the court stating that the Movant has complied with
the terms of the Order, and the court may grant relief from the automatic stay without further notice to
the Debtor. If the automatic stay is terminated, the Property may be sold at foreclosure.

                                              Respectfully Submitted,


Dated: June 26, 2020                            /s/ Andrew Todd Rich
                                              ________________________________
                                              Andrew Todd Rich, VSB# 74296
                                              BWW Law Group, LLC
                                              8100 Three Chopt Rd., Suite 240
                                              Richmond, VA 23229
                                              (804) 282-0463 (phone)
                                              (804) 282-0541 (facsimile)
                                              bankruptcy@bww-law.com
                                              Counsel for the Movant


                                     CERTIFICATE OF SERVICE

        I certify that on this 26th day of June, 2020, the following persons were or will be served a copy
of the foregoing Notice of Default via the CM/ECF system or by first class mail, postage prepaid:


Thomas P. Gorman, Trustee
300 N. Washington St. Ste. 400
Alexandria, VA 22314

Nathan Andrew Fisher, Esq.
3977 Chain Bridge Rd, #2
Fairfax, VA 22030
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Mark Anthony Anderson
1411 Admiral Drive
Woodbridge, VA 22192

Lataunia Anderson
1411 Admiral Drive
Woodbridge, VA 22192




                                              /s/ Andrew Todd Rich
                                             Andrew Todd Rich, Esq.
                                             Attorney
                                             BWW Law Group, LLC
